Case 1:19-cr-02039-SMJ ECFNo. 93 _ filed 05/05/21 PagelD.310 Page 1 of 2

PS8
(3/15)
UNITED STATES DISTRICT COURT
U.S. DISTRICT COURT
for EASTERN DISTRICT OF WASHINGTON
Eastern District of Washington May 05, 2021
SEAN F. MCAVOY, CLERK
U.S.A. vs. Jackson, Morris Bruce Docket No. 0980 1:19CR02039-SMJ-1

Petition for Action on Conditions of Pretrial Release

COMES NOW Linda J. Leavitt, PRETRIAL SERVICES OFFICER, presenting an official report upon the conduct
of defendant Morris Bruce Jackson, who was placed under pretrial release supervision by the Honorable U.S. District Judge
Salvador Mendoza, Jr., sitting in the Court at Richland, Washington, on the 17th day of February 2021, under the following
conditions:

Standard Condition letter I: Defendant shall refrain from use or unlawful possession of a narcotic drug or other controlled
substances defined in 21U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal law.
Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana under
state law.

 

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation No. 3: Mr. Jackson is alleged to be in violation of his pretrial release conditions by consuming a controlled
substance, methamphetamine, on or about April 10, 2021.

On February 24, 2021, conditions of release were reviewed and signed by Mr. Jackson acknowledging an understanding of
standard condition letter I, as noted above.

On April 14, 2021, Mr. Jackson attended a chemical dependency assessment at Helping Professionals Wellness Center
(Helping Professionals) in Vancouver, Washington. During the assessment, Mr. Jackson admitted to the treatment provider
(which is noted in the chemical dependency assessment on page 4) that he consumed methamphetamine on or about April
10, 2021.

Violation No. 4: Mr. Jackson is alleged to be in violation of his pretrial release conditions by testing presumptive positive
for amphetamine, on or about April 23, 2021.

On February 24, 2021, conditions of release were reviewed and signed by Mr. Jackson acknowledging an understanding of
standard condition letter I, as noted above.

On April 23, 2021, Mr. Morris was directed by USPO Okano with the Western District of Washington, to submit a random
urine sample at Helping Professionals in Vancouver. Per Helping Professionals notification via email, the urine sample was
presumptive positive for amphetamines. According to USPO Okano, a confirmation request was sent to the National
laboratory; however, the National laboratory has been experiencing delays in processing requests. The above noted results
are still pending.

Violation No. 5: Mr. Jackson is alleged to be in violation of his pretrial release conditions by consuming a controlled
substance, methamphetamine, on or before April 29, 2021.

On February 24, 2021, conditions of release were reviewed and signed by Mr. Jackson acknowledging an understanding of
standard condition letter I, as noted above.

On April 29, 2021, at the direction of the Court, a urine sample was collected from Mr. Jackson prior to his pretrial
revocation hearing. Preliminary results showed Mr. Jackson tested presumptive positive for methamphetamine. Mr. Jackson
Case 1:19-cr-02039-SMJ ECFNo. 93 _ filed 05/05/21 PagelD.311 Page 2 of 2

Re: Jackson, Morris Bruce
May 4, 2021
Page 2

admitted he consumed methamphetamine "a few days prior" but stated he did not think he would still be positive. The urine
sample was sealed in front of Mr. Jackson and sent to Alere Toxicology Services for confirmation. As of the submission of
this report, confirmation is still pending.

PRAYING THAT THE COURT WILL INCORPORATE THE ABOVE VIOLATIONS WITH VIOLATIONS
PREVIOUSLY REPORTED TO THE COURT

 

I declare under the penalty of perjury
that the foregoing is true and correct.

Executed on: May 4, 2021

by s/Linda J. Leavitt

 

Linda J. Leavitt
US. Pretrial Services Officer

 

THE COURT ORDERS

[ ] No Action

[ ] The Issuance of a Warrant

[ ] The Issuance of a Summons

[X] The incorporation of the violation(s) contained in this

petition with the other violations pending before the
Court.

Defendant to appear before the Judge assigned to the case.
Defendant to appear before the Magistrate Judge.

Other MM A Dymlt_2 ae:
Signature of Judicial Officer
5/5/2021

aero
Me

 

 

 

Date
